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              IN THE UNITED STATES DISTRICT COURT ~~~
             FOR THE WESTERN DISTRICT OF ARKANSAS                  ~~~~~
                         TEXARKANA DIVISION     ~        /:"€'!} ~ ...~1'
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NANCY KNOWLES and              §                  ~   ~    p   ._.     <'04f
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VICTORIA KNOWLES,              §
                               §
              Plaintiffs       §
                               §
vs.                            §         Civil Action No.                      /& - t/(J/b
                               §
JAMES ROBINSON, and            §
K & N MANAGEMENT,              §         JURY DEMANDED
                               §
              Defendants       §

                          PLAINTIFFS' ORIGINAL COMPLAINT

               COMES NOW, NANCY KNOWLES and VICTORIA KNOWLES, Plaintiffs

herein, by and through their attorney of record, Monty G. Murry, and for their cause of action

against Defendants, JAMES ROBINSON and K & N MANAGEMENT, alleges as follows:

                                      I. JURISDICTION

       The jurisdiction of this Court is invoked under 28 U.S. C. Section 1332.

                                         II. PARTIES

A.     Plaintiffs

1.     Plaintiff, NANCY KNOWLES, is an individual who is a citizen and resident of

Texarkana, Arkansas, residing at 120 Marguerite Drive, Texarkana, Arkansas.

2.     Plaintiff, VICTORIA KNOWLES, is an individual who is a citizen and resident of

Texarkana, Arkansas, residing at 120 Marguerite Drive, Texarkana, Arkansas.

B.     Defendants

1.     Defendant, JAMES ROBINSON, is an individual who is a citizen and resident of Texas

and can be served with process at 2100 Mockingbird Drive, Round Rock, Texas, 78681.
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2.      Defendant, K & N MANAGEMENT, is a business organization with its principal place

of business in Austin, Texas, and can be served by serving its director/president, Kenyon

Schiller, at 11570 Research Blvd, Austin, Texas, 78759.

                                              III. FACTS

A.      Plaintiffs bring this suit to recover for personal injuries sustained as a result of an

automobile collision which occurred on or about May 6, 2013, in Miller County, Arkansas.

B.      At the time and on the occasion in question, Plaintiff, Nancy Knowles, was the driver of a

vehicle traveling Eastbound on I-30 in the outside traffic lane and had begun slowing down to

exit to the right. Plaintiff, Victoria Knowles, was a passenger in the vehicle. Defendant, James

Robinson, was also headed Eastbound on I-30 in the outside traffic lane behind Plaintiffs, and

traveling at an excessive rate of speed, when suddenly and without warning he struck the rear of

Plaintiffs' vehicle.

                                         IV. NEGLIGENCE

A.      On the occasion in question, Defendant, James Robinson, was guilty of negligence, which

was a proximate cause of the injuries and damages sustained by Plaintiffs. In addition,

Defendant, James Robinson, was guilty of the following acts, all of which constituted

negligence:

        1.      In failing to yield the right of way;

       2.       In following too closely; and

       3.       In driving in a careless and prohibitive manner.

       Each of the foregoing negligent acts and omissions, whether taken singularly or in any

combination, was a proximate cause of Plaintiffs injuries and damages.

B.     On the occasion in question, Defendant, James Robinson, was driving a vehicle owned by
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Defendant, K & N Management, and acting in the course and scope of his employment and/or

agency with K & N Mangement. K & N Management is therefore guilty of negligence under the

theory of Respondeat Superior. In the alternative, K & N Management is guilty of negligent

entrustment as such is defined under Arkansas law.

                                 V. INJURIES AND DAMAGES

A.      As a direct and proximate result of defendants' negligence, Plaintiffs have suffered

serious and permanent, disabling and disfiguring injuries. In addition, Plaintiffs have suffered

severe physical and mental pain, suffering, and anguish, and in all reasonable probability, will

continue to suffer in this manner for a long time into the future. As a result of the injuries

sustained, Plaintiffs have incurred reasonable and customary doctor's and medical expenses for

necessary medical treatment and there is a reasonable probability that they will incur additional

reasonable expenses for necessary medical care and attention in the future.

B.      As a direct and proximate result of defendants' negligence, Plaintiffs have further

sustained a loss of earnings and earning capacity in the past and will, in all likelihood, continue

to suffer a loss of earnings and earning capacity in the future.

                                 VI. AMOUNT OF DAMAGES

        By reason of the foregoing, Plaintiff has been damaged in a sum which exceeds the

minimum limits of diversity jurisdiction.

                                             PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that Defendants be cited to

appear and answer herein, and that they be awarded damages against Defendants in excess of the

minimum jurisdictional limits of this Court, interest as allowed by law, costs of suit, and any

other relief, whether general or special, at law or in equity, to which Plaintiffs may show
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themselves justly entitled.

                                       Respectfully submitted,




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                                       3918 Texas Boulevard
                                       Texarkana, Texas 75501
                                       Telephone: (903) 823-3000
                                       Telecopier: (903) 823-3002
                                       mgmurry@murrylaw.com

                                       ATTORNEY FOR PLAINTIFFS
